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                             UNITED STATES BANKRUPTCY COURT
                                     DISTRICT OF IDAHO

 In re:                                                   Case No. 23-00191-JMM
                                                          Chapter 11
 HMH CONSTRUCTION, LLC

                       Debtor.


          ORDER GRANTING ACTING UNITED STATES TRUSTEE’S MOTION TO
                          CONVERT TO CHAPTER 7

          The Acting United States Trustee’s Motion to Convert or Dismiss Case or in the

 Alternative to Appoint a Chapter 11 Trustee (Doc. 79) being considered, and the court

 considering evidence and argument at the hearing on August 9, 2023, the Court having made oral

 findings of fact and conclusions of law on the record, and for good cause appearing:

          IT IS HEREBY ORDERED THAT the Acting United States Trustee’s Motion to convert

 to Chapter 7 is GRANTED and this case is converted to a case under Chapter 7 of U.S.C. Title

 11.

                                            DATED: August 14, 2023



                                            ________________________
                                            JOSEPH M. MEIER
                                            CHIEF U. S. BANKRUPTCY JUDGE




 Submitted by: Andrew Jorgensen, Attorney for United States Trustee’s Office
 Approved as to form:
 _/s/ (email authorization)_______________ Date: _8/9/2023__
 D. Blair Clark, Attorney for Debtor HMH Construction LLC
 _/s/ (email authorization)_______________ Date: _8/9/2023__
 Aaron Bell, Attorney for Creditor Commercial Credit Group, Inc.
 _/s/ (email authorization)_______________ Date: _8/9/2023__
 Kaleigh Boyer, Attorney for Komatsu Financial
